                  UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

UNITED STATES OF AMERICA          §
ex rel. Susan Ruscher             §
STATE OF CALIFORNIA, ex rel.      §
Susan Ruscher;                    §    CIVIL ACTION NO. 08-CV- 3396
STATE OF DELAWARE, ex rel.        §
Susan Ruscher;                    §
DISTRICT OF COLUMBIA, ex rel.     §
Susan Ruscher;                    §
STATE OF FLORIDA, ex rel.         §
Susan Ruscher;                    §
STATE OF GEORGIA, ex rel.         §
Susan Ruscher;                    §
STATE OF HAWAII, ex rel.          §
Susan Ruscher;                    §
STATE OF ILLINOIS, ex rel.        §
Susan Ruscher;                    §
STATE OF INDIANA, ex rel.         §
Susan Ruscher;                    §
STATE OF LOUISIANA, ex rel.       §
Susan Ruscher;                    §
COMMONWEALTH OF MASSACHUSETTS     §
ex rel. Susan Ruscher;            §
STATE OF MICHIGAN, ex rel.        §
Susan Ruscher;                    §
STATE OF MONTANA, ex rel.         §
Susan Ruscher;                    §
STATE OF NEVADA, ex rel.          §
Susan Ruscher;                    §
STATE OF NEW HAMPSHIRE, ex rel.   §
Susan Ruscher;                    §
STATE OF NEW JERSEY, ex rel.      §
Susan Ruscher;                    §
STATE OF NEW MEXICO, ex rel.      §
Susan Ruscher;                    §
STATE OF NEW YORK, ex rel.        §
Susan Ruscher;                    §
STATE OF OKLAHOMA, ex rel.        §
Susan Ruscher;                    §
STATE OF RHODE ISLAND, ex rel.    §
Susan Ruscher;                    §
STATE OF TENNESSEE, ex rel.       §
Susan Ruscher;                    §
STATE OF TEXAS, ex rel.                            §
Susan Ruscher;                                     §
COMMONWEALTH OF VIRGINIA, ex rel.                  §
Susan Ruscher;                                     §
STATE OF WISCONSIN, ex rel.                        §
Susan Ruscher;                                     §
                                                   §
                        Plaintiffs                 §
                                                   §
VS.                                                §
                                                   §
OMNICARE, INC., et al.,                            §
                                                   §
                        Defendants.                §




             NOTICE OF THE STATE OF TEXAS AND OTHER PLAINTIFF
             STATES OF THEIR ELECTION TO DECLINE INTERVENTION

        The State of Texas respectfully notifies the court of its decision to decline intervention in

the above-captioned action on behalf of the State of Texas pursuant to Section 36.104 (a) of the

Texas Medicaid Fraud Prevention Act (the “TMFPA”) and on behalf of certain plaintiff states

that have requested to join in this Notice. Specifically, the States of California, Delaware,

District of Columbia, Florida, Georgia, Hawaii, Illinois, Louisiana, Massachusetts, Michigan,

Montana, Nevada, New Hampshire, New Jersey, New Mexico, New York, Oklahoma, Rhode

Island, Tennessee, Virginia and Wisconsin (collectively, the “Plaintiff States”) have

communicated to the State of Texas their request to join in this Notice pursuant to their

respective states’ statutes.

        Pursuant to Section 36.102(e) of the TMFPA and the other Plaintiff States’ respective

statutes, the State of Texas and the other Plaintiff States request that the Court solicit the written

consent and approval of the States before ruling or granting a proposal to dismiss, settle, or

otherwise discontinue this action.
       Pursuant to Section 36.104(b) of the TMFPA and the other Plaintiff States’ respective

statutes, the State of Texas and the other Plaintiff States requests that the parties serve copies of

all pleadings, motions and orders subsequently filed in this action upon the State of Texas and

the other Plaintiff States. Additionally, the State of Texas and the other Plaintiff States further

reserve the right to order any deposition transcripts and intervene in the action, for good cause

shown, at a later date.

       A Proposed Order accompanies this Notice.



                                              Respectfully submitted,

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                                              ATTORNEYS FOR THE STATE OF TEXAS
Dated: March 28, 2013



                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent via U.S. mail to the following non-registered attorneys on this 28th

day of March 2013.

                                              /s/ Susan J. Arenella
                                              Susan J. Arenella


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